          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         CRIMINAL NO. 1:04CR74-6



UNITED STATES OF AMERICA                   )
                                           )
                                           )
                   VS.                     )           ORDER
                                           )
                                           )
STEVEN CARL WEBSTER                        )
                                           )


      THIS MATTER is before the Court to exonerate the real estate lien

note and deed of trust posted as bond for the Defendant herein.

      Defendant was arrested and released on a secured bond in the

amount of $35,000 posted by him in the form of a Real Estate Lien Note

and Deed of Trust. The note and deed of trust are being held by the Clerk

until final disposition of this case.

      Defendant entered a plea to the charge contained in the indictment

herein on January 3, 2005. Thereafter, the Defendant’s bond was revoked

on May 2, 2005, for continuing substance abuse violations. He remained

in custody until he was sentenced by the undersigned on February 8, 2006,

to a 120 months imprisonment and is currently serving his sentence at the



    Case 1:04-cr-00074-MR-DLH      Document 215   Filed 01/26/07   Page 1 of 2
                                       2

Federal Correctional Institution at Elkton, Ohio. There being no further

liability on the bond, the Court will order it exonerated.

      IT IS, THEREFORE, ORDERED that the bond herein referenced is

hereby exonerated and the Clerk of Court is directed to write across the

face of the Real Estate Lien Note and Deed of Trust that the bond has

been exonerated and the Note and Deed of Trust are satisfied, and return

same to the Defendant, in care of Krinn E. Evans, Attorney at Law, 258

South Main Street, Marion, North Carolina, 28752.


                                       Signed: January 26, 2007




   Case 1:04-cr-00074-MR-DLH     Document 215     Filed 01/26/07   Page 2 of 2
